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                    Exhibit C
         Case 4:20-cv-05640-YGR Document 89-3 Filed 09/18/20 Page 2 of 3




From: Brent Byars <MByars@cravath.com>
Date: September 2, 2020 at 11:02:13 PM EDT
To: "Srinivasan, Jay P." <JSrinivasan@gibsondunn.com>
Cc: "Richman, Cynthia" <CRichman@gibsondunn.com>, Christine Varney <cvarney@cravath.com>,
"dwanson@gibsondunn.com" <dwanson@gibsondunn.com>, Gary Bornstein
<GBornstein@cravath.com>, Katherine Forrest <kforrest@cravath.com>, Lauren Moskowitz
<LMoskowitz@cravath.com>, "Doren, Richard J." <RDoren@gibsondunn.com>, "Boutrous Jr.,
Theodore J." <TBoutrous@gibsondunn.com>, "Lewis, Veronica S." <VLewis@gibsondunn.com>,
Yonatan Even <YEven@cravath.com>
Subject: Re: Epic Games, Inc. v. Apple Inc.--Urgent correspondence from Katherine Forrest


Richard and Jay,

We’ve not heard back from Apple about this. Please have the appropriate Apple personnel contact Epic tomorrow, so that
the parties can resolve this issue without the need to bring it to the Court.

Brent

        On Aug 29, 2020, at 7:14 PM, Brent Byars <MByars@cravath.com> wrote:

        Richard and Jay,

        We disagree with a number of the assertions and characterizations in your letter, but do not feel that it
        would be productive to catalog or debate them here. Epic employees have initiated contact with the Apple
        employees with whom they have interacted regarding Sign in with Apple during the normal course of
        business--see attached email. We expect that Apple and Epic will have a cooperative relationship to
        ensure that third parties who rely on Sign in with Apple to access Epic accounts retain that access after
        the two-week period mentioned in your letter. Epic reserves all rights.

        Brent




        (See attached file: Epic Games Mail - Epic Games SiwA Migration.pdf)
        "Srinivasan, Jay P." ---08/28/2020 03:31:56 PM---Brent, See letter attached.


        From: "Srinivasan, Jay P." <JSrinivasan@gibsondunn.com>
        To: "Brent Byars" <MByars@cravath.com>, "Boutrous Jr., Theodore J." <TBoutrous@gibsondunn.com>, "Doren, Richard J."
        <RDoren@gibsondunn.com>, "Richman, Cynthia" <CRichman@gibsondunn.com>, "dwanson@gibsondunn.com"
        <dwanson@gibsondunn.com>, "Lewis, Veronica S." <VLewis@gibsondunn.com>
        Cc: "cvarney@cravath.com" <cvarney@cravath.com>, "Katherine Forrest" <kforrest@cravath.com>, "Gary Bornstein"
        <GBornstein@cravath.com>, "Yonatan Even" <YEven@cravath.com>, "Lauren Moskowitz" <LMoskowitz@cravath.com>
        Date: 08/28/2020 03:31 PM
        Subject: RE: Epic Games, Inc. v. Apple Inc.--Urgent correspondence from Katherine Forrest




        Brent, See letter attached. Thanks, Jay Jay P. Srinivasan GIBSON DUNN Gibson, Dunn & Crutcher LLP 333 South Grand Avenue, Los Angeles, CA
        90071-3197 Tel +1 213.229.7296 • Fax +1 213.229.6296 JSrinivas

                                                                   1
           Case 4:20-cv-05640-YGR Document 89-3 Filed 09/18/20 Page 3 of 3

                    External (jsrinivasan@gibsondunn.com)
                                                                                                  Report This Email FAQ

Brent,

See letter attached.

Thanks,
Jay
Jay P. Srinivasan
GIBSON DUNN
Gibson, Dunn & Crutcher LLP
333 South Grand Avenue, Los Angeles, CA 90071-3197
Tel +1 213.229.7296 • Fax +1 213.229.6296
JSrinivasan@gibsondunn.com • www.gibsondunn.com



From: Brent Byars <MByars@cravath.com>
Sent: Thursday, August 27, 2020 11:28 AM
To: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>; Doren, Richard J. <RDoren@gibsondunn.com>; Richman,
Cynthia <CRichman@gibsondunn.com>; dwanson@gibsondunn.com; Srinivasan, Jay P. <JSrinivasan@gibsondunn.com>;
Lewis, Veronica S. <VLewis@gibsondunn.com>
Cc: cvarney@cravath.com; Katherine Forrest <kforrest@cravath.com>; Gary Bornstein <GBornstein@cravath.com>;
Yonatan Even <YEven@cravath.com>; Lauren Moskowitz <LMoskowitz@cravath.com>
Subject: Epic Games, Inc. v. Apple Inc.‐‐Urgent correspondence from Katherine Forrest

[External Email]
Counsel,

Please see the attached urgent correspondence from Katherine Forrest.


Brent

This e‐mail is confidential and may be privileged. Use or disclosure of it by anyone other than a designated addressee is
unauthorized. If you are not an intended recipient, please delete this e‐mail from the computer on which you received it.

This message may contain confidential and privileged information for the sole use of the intended
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strictly prohibited. If it has been sent to you in error, please reply to advise the sender of the error and
then immediately delete this message.

Please see our website at https://www.gibsondunn.com/ for information regarding the firm and/or our
privacy policy. [attachment "8.28 Response from R. Doren to K. Forrest.pdf" deleted by Brent
Byars/NYC/Cravath]


<Epic Games Mail - Epic Games SiwA Migration.pdf>




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